Case 17-55587-pmb        Doc 124     Filed 06/11/18 Entered 06/11/18 10:23:34             Desc Main
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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

 IN RE:                             :           CHAPTER 11
                                    :
 DN REAL ESTATE SERVICES &          :
 ACQUISITIONS, LLC                  :
                                    :           CASE NO. 17-55587-PMB
      Debtor                        :
      ________________________________________________________________________

                                         NOTICE OF HEARING

        PLEASE TAKE NOTICE that DN REAL ESTATE SERVICES & ACQUISITIONS,
 LLC filed a MOTION TO RECONSIDER ORDER CONVERTING CASE and related papers
 with the Court seeking an Order on June 8, 2018 (Doc. 123).

         PLEASE TAKE FURTHER NOTICE that the Court will hold a hearing on the Motion
 for Approval of Post-Closing Real Estate Brokers Commission in Courtroom 1202, United States
 Courthouse, 75 Ted Turner Drive, S.W., Atlanta, Georgia 30303 at 2:00 P.M. on July 16, 2018.
         Your rights may be affected by the court’s ruling on these pleadings. You should read
 these pleadings carefully and discuss them with your attorney if you have one in this bankruptcy
 case. (If you do not have an attorney, you may wish to consult one). If you do not want the court
 to grant the relief sought in these pleadings or if you want the court to consider your view, then
 you and/or your attorney must attend the hearing. You may also file a written response to the
 pleadings with the Clerk at the address stated below, but you are not required to do so. If you file
 a written response, you must attach a certificate stating when, how and on whom (including
 addresses) you served the response. Mail or deliver your response so that it is received by the
 Clerk at least two business days before the hearing. The address of the Clerk’s Office is: Clerk,
 U.S. Bankruptcy Court, Suite 1202, 75 Ted Turner Drive, SW, Atlanta, Georgia 30303. You
 must also mail a copy of your response to the undersigned at the address stated below.

          Dated: June 11, 2018
                                                      /s/_____________
                                                      Howard P. Slomka
                                                      Georgia Bar #652875
                                                      Attorney for the Debtor
                                                      Slipakoff & Slomka, PC
                                                      Overlook III, Suite 1700
                                                      2859 Paces Ferry Rd, SE
                                                      Atlanta, GA 30339
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 IN RE:                              :           CHAPTER 11
                                     :
 DN REAL ESTATE SERVICES &           :
 ACQUISITIONS, LLC                   :
                                     :           CASE NO. 17-55587-PMB
       Debtor                        :
 ______________________________________________________________________________

                                 CERTIFICATE OF SERVICE

         This is to certify that I have this day served the foregoing NOTICE OF HEARING and
  MOTION TO RECONSIDER ORDER CONVERTING CASE upon the following by email
  and the ECF system.

  United States Trustee
  362 Richard B Russell Bldg
  75 Ted Turner Drive, SW
  Atlanta, GA 30303
  (U.S. Trustee)

  SEE ATTACHED LIST OF CREDITORS

          Dated: June 11, 2018


                                                 By: /s/ Howard P. Slomka, Esquire
                                                 Georgia Bar #652875
                                                 2859 Paces Ferry Rd. SE.
                                                 Suite 1700
                                                 Atlanta, Georgia 30339
                                                 Attorney for Debtor
